          Case 1:17-cr-00630-ER Document 417
                                         418 Filed 10/16/21
                                                   10/18/21 Page 1 of 1




                                                                   October 15, 2021
                                      Mr. Scott's reply is now due October 29, 2021. Sentencing is
                                      adjourned to December 8, 2021 at 2:00 pm.
Honorable Edgardo Ramos
United States District Judge          SO ORDERED.
Southern District of New York
40 Foley Square
New York, New York 10007                                               10/18/2021


       Re:     United States v. Mark S. Scott, S10 17 Cr. 630(ER)

Dear Judge Ramos:

       We write on behalf of our client, Mark Scott, with respect to the scheduling of the
defendant's Reply Brief in connection with his Supplemental Rule 33 Motion (Dkts. 410, 412),
which sought a new trial based on perjury by cooperating witness Konstantin Ignatov
("Konstantin"). In its Opposition, the Government conceded that Konstantin had committed
perjury with respect to one matter (his disposal of a OneCoin laptop), while arguing that there
was no evidence that Konstantin had testified falsely on a second matter raised in Mr. Scott's
motion: a supposed meeting involving Mark Scott and Irina Dilkinska at OneCoin's Sofia,
Bulgaria offices on July 20, 2016.

       As previewed in our letter of October 1, 2021 (Dkt. 413), counsel for Mr. Scott received
documentary evidence that Ms. Dilkinska was in fact in India at the time of the alleged Sofia
meeting, which it has shared with the Government. The Government has advised that it is in the
process of obtaining records from foreign authorities with respect to Ms. Dilkinska’s travels.
The Government also disclosed on October 12, 2021 that Konstantin obtained and used a
contraband cellphone while incarcerated at the MCC, that it was seized in late February 2020,
and that the case team was informed of this a year ago, in October 2020. The Government is
reviewing the contents of that phone and assessing whether additional disclosures may be
required. This information may also be relevant to issues Mr. Scott intends to raise in the Reply
Brief.

        In view of these developments, Mr. Scott seeks, with the Government's consent, a two-
week extension, until October 29, 2021, for the filing of his Reply Brief. The parties also request
that the Court adjourn sentencing, currently set for November 9, 2021, until a date convenient for
the Court in early December.

                                                                   Respectfully submitted,



                                                                   /s/ Arlo Devlin-Brown
                                                                   Arlo Devlin-Brown
